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UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America
¥

KIRSTYN NIEMELA Case No, 1:21-cr-00623 (CRC)

 

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Defendant
WAIVER OF APPEARANCE TO SENTENCING HEARING

Pursuant to Federal Rule of Criminal Procedure 43(b)(2), | agree to waive my right to appear in person to the

sentencing hearing. E i inf
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tJ
Date: _ 06/06/2023 b px, Orn

Defendant Me Signature

 

 

Signature of defendant 's attorney
icf John Mo Pierce
John M. Pierce
Printed name and bar number of defendant's attorney
21550 Oxnard Street

3rd Floor PMB #172
Woodland Hills, CA 91367

 

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